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                    UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
In re:                                         )      Chapter 7
                                               )
MAUREEN A BARRY,                               )      Bankruptcy No. 18 B 22245
                                               )
                                               )
                            Debtor.            )      Honorable Jacqueline P. Cox

                                       NOTICE OF MOTION

To:      See Attached Service List


         PLEASE TAKE NOTICE that on Thursday, May 2, 2019, at 9:30 a.m., we will appear
before the Honorable Jacqueline P. Cox or such other Judge as may be presiding in that Judge’s
stead, in courtroom 680, Everett McKinley Dirksen United States Courthouse, 219 South Dearborn
Street, Chicago, IL 60604, and present our Chapter 7 Trustee’s Motion to Approve Settlement
Pursuant to Federal Rule of Bankruptcy Procedure 9019, a copy of which is attached hereto and
served upon you herewith.


Date: April 11, 2019                           DAVID P. LEIBOWITZ, not individually, but as
                                               the Chapter 7 Trustee of the Debtor’s Estate

                                               By:   /s/ David P. Leibowitz
                                                      David P. Leibowitz (ARDC # 1612271)
                                                      Law Offices of David P. Leibowitz, LLC
                                                      53 West Jackson Boulevard, Suite 1115
                                                      Chicago, IL 60604
                                                      (312) 360-1501

                                     CERTIFICATE OF SERVICE

        On April 11, 2019, the undersigned certifies that on this date, she caused a copy of the
foregoing notice and the document referred to therein to be served upon each person shown on the
attached service list by United States Mail, with postage prepaid, at Chicago, Illinois. Those marked
with an * were served via the Court’s ECF System.
                                                          /s/ Linda A. Green
                                                              Attorney
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                                  Office of the U.S. Trustee, Region 11
SERVICE LIST                      219 S Dearborn St
                                  Room 873
                                  Chicago, IL 60604-2027 *
TOYOTA MOTOR CREDIT CORPORATION
PO BOX 8026                       Andreou & Casson, Ltd.
CEDAR RAPIDS IA 52408-8026        Agent for James Greskovich
                                  661 W. Lake Street, Suite 2 North
Barclays Bank Delaware            Chicago, IL 60661-1034
P.O. Box 8802
Wilmington, DE 19899-8802         Advanced Women's Healthcare Specia
                                  P.O. Box 14099
BANK OF AMERICA                   Belfast, ME 04915-4034
PO BOX 982238
EL PASO TX 79998-2238             Greskovich, James
                                  c/o Corboy & Demetrio
Citi Simplicity                   33 N. Dearborn, 21st Floor
P.O. Box 6500                     Chicago, IL 60602-3192
Sioux Falls, SD 57117-6500
                                  Northwest Eye Physicians
Laboratory Corporation of America Dr. Adam Prickett
P.O. Box 2240                     1588 N. Arlington Heights Road
Burlington, NC 27216-2240         Arlington Heights, IL 60004-3906

Northwest Community Healthcare       Chase Bank USA, NA
28079 Network Place                  P.O. Box 15298
Chicago, IL 60673-1280               Wilmington, DE 19850-5298

U.S. Bankruptcy Court                DISCOVER FINANCIAL SERVICES LLC
Eastern Division                     PO BOX 3025
219 S Dearborn                       NEW ALBANY OH 43054-3025
7th Floor
Chicago, IL 60604-1702 *

Lynda Wesley
Law Office of Lynda Wesley
800 E Northwest Hwy Ste 700
Palatine, IL 60074-6513 *

Rush Univ. Medical Center
P.O. Box 4075
Carol Stream, IL 60197-4075

Dept. of Education
FedLoan Servicing
P.O. Box 69184
Harrisburg, PA 17106-9184

Maureen A Barry
200 N. Arlington Heights Road
Apt. 1014
Arlington Heights, IL 60004-6053

Patrick S Layng
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                     UNITED STATES BANKRUPTCY COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
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In re:                                            )        Chapter 7
                                                  )
MAUREEN A BARRY,                                  )        Bankruptcy No. 18 B 22245
                                                  )
                                                  )
                             Debtor.              )        Honorable Jacqueline P. Cox

    CHAPTER 7 TRUSTEE’S MOTION TO APPROVE SETTLEMENT PURSUANT TO
              FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

         David P. Leibowitz (“Trustee”), not individually, but as the Chapter 7 Trustee for the estate

of Maureen A. Barry (“Debtor”), hereby moves for an order authorizing him to settle and

compromise a controversy pursuant to Bankruptcy Rule 9019. In support of this Motion, the

Trustee respectfully states as follows:1

                                              JURISDICTION

         1.     This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (O).

         2.     Venue is proper pursuant to 28 U.S.C. § 1408.

         3.     By Local Rule 40.3.1(a) of the United States District Court for the Northern District

of Illinois, the District Court has referred all bankruptcy cases to the Bankruptcy Court for initial

determination, as permitted by 28 U.S.C. § 157(a).

                       FACTUAL AND PROCEDURAL BACKGROUND

         4.     On August 7, 2018 (the “Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 7 of the Bankruptcy Code.

         5.     David P. Leibowitz is the duly appointed, qualified, and acting chapter 7 Trustee in

this case.

1All chapter, section and rule references, unless otherwise noted, are to the Bankruptcy Code, 11 U.S.C. §§
101-1532 (“Code”), and the Federal Rules of Bankruptcy Procedure, Rules 1001-9037.
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        6.      According to Debtor’s testimony at the § 341 meeting of creditors, Debtor owns a

diamond wedding ring (the “Ring”) and a one-half interest in a 2012 Toyota Prius hatchback (the

“Vehicle Interest”). After the § 341 meeting, on September 12, 2018, the Trustee filed his Initial

Report of Assets. Thereafter, Debtor amended her Schedule B to include these assets, listing the

Ring at a value of $1,585 and the Vehicle Interest at $4,500. The Trustee requested appraisals, and

Debtor provided appraisals supporting the scheduled values. After deducting the $2,400 exemption

claimed by Debtor in the Vehicle Interest, the non-exempt value of the two assets is $3,685.

        7.      The Trustee has negotiated with Debtor a settlement of his cause of action for

recovery of the non-exempt value of the Vehicle Interest and the Ring, subject to this Court’s

approval, for the sum of $2,500.00 (“Settlement Sum”), to be paid in eight equal installments of

$300 each, beginning April 1, 2019, and a final installment of $100 payable on December 1, 2019.

The Trustee has already received, subject to this Court’s approval, the first installment.

                                      REQUESTED RELIEF

        8.      The Trustee requests that the Court enter an order approving the compromise and

settlement set forth above and authorizing the Trustee to execute any and all documents reasonably

necessary to consummate same.

                               BASIS FOR REQUESTED RELIEF

        9.      Bankruptcy Rule 9019(a) authorizes the Court, after a hearing on appropriate notice,

to approve a compromise or a settlement so long as “the settlement is in the best interests of the

estate.” In re Andreuccetti, 975 F.2d 413, 421 (7th Cir. 1992); In re Energy Co-op, Inc., 886 F.2d 921,

926-27 (7th Cir. 1989). To determine whether a settlement is in the best interest of the estate, the

Court should consider the risks and cost of the litigation and any delay associated therewith. Id.

Compromises are favored in bankruptcy, as they expedite the administration of the case and reduce

administrative costs. See, e.g., Fogel v. Zell, 221 F.3d 955, 960 (7th Cir. 2000). Though a court should
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never simply “rubber stamp” a trustee’s decision to settle a matter, a court should refuse to

authorize a settlement only if it “falls below the lowest point in the range of reasonableness.” Energy

Co-op, 886 F.2d at 929.

        10.     The Trustee, in the exercise of his business judgment, believes that the proposed

settlement is in the best interest of the estate and certainly within the range of reasonableness. In

making this determination, the Trustee has taken into account all relevant factors, including but not

limited to the risk inherent in prosecuting litigation of the estate’s claim for recovery of the non-

exempt assets, the cost incurred and expected to be incurred if no settlement is consummated, and

any delay associated with such litigation.

        11.     To this end, the Trustee performed a cost benefit analysis before determining to

agree to the settlement and at all times was mindful of his obligations under In re Taxman Clothing

Co., 49 F.3d 310, 315-16 (7th Cir. 1995), to consider the value of assets in relation to the expense of

attaining those assets for distribution to creditors.

        12.     In sum, the Trustee believes that all relevant factors counsel in favor of agreeing to

the settlement proposal, as outlined above.

                                                NOTICE

        13.     Notice of this Motion has been given to Debtor, her counsel, the Office of the

United States Trustee, all known creditors of this estate, and all parties who have requested or

receive notice through CM/ECF. In light of the nature of the relief requested, the Trustee requests

that this Court find the notice provided for herein sufficient under the circumstances and waive and

dispense with any further notice requirements.

        WHEREFORE, David P. Leibowitz, chapter 7 Trustee of the estate of Maureen A. Barry,

respectfully requests that this Court enter an order:

        (i)     granting this Motion;
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       (ii)    approving the settlement of the estate’s claim for recovery of the non-exempt assets

               as described above;

       (iii)   authorizing the Trustee to take all actions and execute all documents reasonably

               necessary to effectuate the settlement; and

       (iv)    granting such other and further relief as the Court deems just and proper.



Dated: April 11, 2019                         Respectfully submitted,

                                              DAVID P. LEIBOWITZ, not individually, but as
                                              the Chapter 7 Trustee of the Debtor’s Estate

                                              By:    /s/ David P. Leibowitz
                                                      David P. Leibowitz (ARDC # 1612271)
                                                      Law Offices of David P. Leibowitz, LLC
                                                      53 West Jackson Boulevard, Suite 1115
                                                      Chicago, IL 60604
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